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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

Perkins & Marie Callender’s, LLC, et al.,' Case No. 19-11743 (KG)

Debtors. Jointly Administered

Re: Docket No. 33

 

ORDER (A) APPROVING BIDDING PROCEDURES FOR SALE OF
SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B) APPROVING STALKING
HORSE PROTECTIONS, (C) SCHEDULING AUCTION FOR, AND HEARING TO
APPROVE, SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS,

(D) APPROVING FORM AND MANNER OF NOTICES OF SALE, AUCTION AND
SALE HEARING, (E) APPROVING ASSUMPTION AND ASSIGNMENT
PROCEDURES AND (F) GRANTING RELATED RELIEF

Upon the (A) Debtors’ Motion for Entry of an Order (I)(A) Approving Bidding
Procedures for Sale of Substantially All of the Debtors’ Assets, (B) Approving Stalking Horse
Protections, (C) Scheduling Auction for, and Hearing to Approve, Sale of Substantially All of the
Debtors’ Assets, (D) Approving Form and Manner of Notices of Sale, Auction and Sale Hearing,
(E) Approving Assumption and Assignment Procedures and (F) Granting Related Relief; and
(II) (A) Approving Sale of Substantially All of the Debtors’ Assets Free and Clear of All Liens,
Claims, Interests, and Encumbrances, (B) Approving Assumption and Assignment of Executory

Contracts and Unexpired Leases and (C) Granting Related Relief (the “Motion’’) [Docket No.

33]; (B) the Supplement related thereto’; and (C) the Declaration of Jason Abt in support thereof

 

" The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are:
Perkins & Marie Callender’s, LLC (2435); Perkins & Marie Callender’s Holding, LLC (3381); Marie Callender Pie
Shops, LLC (1620); MC Wholesalers, LLC (2420); PMCI Promotions, LLC (7308); MCID, Inc. (2015); Wilshire
Beverage, Inc. (5887); FIV, LLC (9288); P&MC’s Real Estate Holding LLC (8553); and P&MC’s Holding Corp.
(2225). The mailing address for the Debtors is 6075 Poplar Avenue, Suite 800, Memphis, Tennessee 38119-4709.

* Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to
such terms in the Motion and the Supplement, as applicable.

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[Docket No. 34] of the above-captioned debtors and debtors-in-possession (collectively, the
“Debtors”), for entry of an order (this “Order’”), pursuant to Bankruptcy Code sections 105,
363, 365, 503 and 507, Bankruptcy Rules 2002, 6004 and 6006, and Local Rule 6004-1,
(i) approving the bidding procedures (as may be amended from time to time in accordance with
the terms therefore, the “Bidding Procedures’), attached hereto as Exhibit 1, pursuant to which
the Debtors will solicit and select the highest and otherwise best offer for the sale (the “Sale”) of
all or substantially all or any portion of the Assets; (ii) approving the expenses up to an aggregate
maximum amount of $600,000, less the amount advanced to the Prepetition Stalking Horse
Bidder pursuant to the Expense Advance Agreement (the “Prepetition SH Expense
Reimbursement”) and a termination fee in the amount of (A) $1,050,000 in the event of a
Foxtail Overbid Acceptance or, in the alternative, (B) $1,200,000 in the event of no Foxtail
Overbid Acceptance (the “Prepetition SH Break-Up Fee”, and together with the Prepetition SH
Expense Reimbursement and the applicable terms set forth in the Bidding Procedures, the
“Prepetition SH Bid Protections”) associated with the Prepetition Stalking Horse Bidder; (iii)
approving a termination fee up to an aggregate amount of $500,000 (together with the applicable
terms set forth in the Bidding Procedures, the “Foxtail Break-Up Fee” and, together with the
“Prepetition SH Bid Protections, the “Bid Protections”); (iv) scheduling an auction
(the “Auction”); (v) establishing procedures for the assumption and assignment of executory
contracts and unexpired leases in connection with the Sale, including notice of proposed Cure
Costs (the “Assumption and Assignment Procedures”); (vi) scheduling a hearing (the “Sale
Hearing”) to approve the Sale (the foregoing relief is referred herein as the “Bid Related
Relief”); and (vii) granting related relief, all as more fully described in the Motion; and the Court

having reviewed and considered the Motion; and the Court having held a hearing on the Motion

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(the “Bidding Procedures Hearing”); and upon all of the proceedings had before the Court; and
after due deliberation and sufficient cause appearing therefore,

IT IS FOUND AND DETERMINED THAT:

A. The findings and conclusions set forth herein constitute the Court’s findings of
fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this
proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings
of fact constitute conclusions of law, and to the extent that any of the following conclusions of
law constitute findings of fact, they are adopted as such.

B. This Court has jurisdiction to consider the Motion and the relief requested therein
in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference
from the United States District Court for the District of Delaware, dated February 29, 2012. This
is a core proceeding under 28 U.S.C. § 157(b). Venue of the Debtors’ chapter 11 cases and the
Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

C. Notice of the Motion, the Supplement, the Bidding Procedures, the Bidding
Procedures Hearing and the proposed entry of this Order was (i) appropriate and reasonably
calculated to provide all interested parties with timely and proper notice, (ii) in compliance with
all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules and the Local Rules
and (iii) adequate and sufficient under the circumstances of these Chapter 11 Cases, and no other
or further notice is required. A reasonable opportunity to object or be heard regarding the relief
requested in the Motion (including, without limitation, with respect to the Bidding Procedures
and payment of the Bid Protections) has been afforded to all interested persons and entities,

including, but not limited to, the Notice Parties.

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D. The Bidding Procedures in the form attached hereto as Exhibit 1 are fair,
reasonable and appropriate and are designed to maximize creditor recoveries from a sale of the
Assets.

E. The Bidding Procedures and each of the Stalking Horse Agreements were each
negotiated in good faith and at arm’s-length among the Debtors and each of the Stalking Horse
Bidders. The Stalking Horse Agreements represent the highest or otherwise best offer that the
Debtors have received to date with respect to the Perkins Business Assets, the Ohio Business
Assets, the MC Business Assets and the California Business Assets, respectively. The process
for selecting the Stalking Horse Bidders was fair and appropriate under the circumstances and in
the best interests of the Debtors’ estates.

F. The Debtors have demonstrated a compelling and sound business justification for
the Bankruptcy Court to enter this Order and, thereby: (i) approve the Bidding Procedures as
contemplated by the Stalking Horse Agreements and the Motion; (ii) authorize the Bid
Protections under the terms and conditions set forth in the applicable Stalking Horse Agreements
and the Bidding Procedures; (iii) set the dates of the Bid Deadline, Auction (if needed), Sale
Hearing and other deadlines set forth in the Motion and the Bidding Procedures; (iv) approve the
Noticing Procedures and the forms of notice; and (v) approve the Assumption and Assignment
Procedures and the forms of relevant notice. Such compelling and sound business justification,
as set forth in the Motion and on the record at the Bidding Procedures Hearing are incorporated
herein by reference and, among other things, form the basis for the findings of fact and
conclusions of law set forth herein.

G. The Bid Protections, as approved by this Order, are fair and reasonable and

provide a benefit to the Debtors’ estates and stakeholders.

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H. If triggered in accordance with the terms of the applicable Stalking Horse
Agreement, the payment of the Bid Protections, under this Order and upon the conditions set
forth in applicable Stalking Horse Agreement and the Bidding Procedures, is (i) an actual and
necessary cost of preserving the value of the Debtors estates, within the meaning of Bankruptcy
Code sections 503(b) and 507(a), (ii) reasonably tailored to encourage, rather than hamper,
bidding for the Perkins Business Assets and the Ohio Business Assets, respectively, by providing
a baseline of value, increasing the likelihood of competitive bidding at the Auction, and
facilitating participation of other bidders in the sale process, thereby increasing the likelihood
that the Debtors will receive the best possible price and terms for the Perkins Business Assets
and Ohio Business Assets, respectively, (iii) of substantial benefit to the Debtors’ estates and
stakeholders and all parties in interest herein, (iv) reasonable and appropriate, (v) a material
inducement for, and condition necessary to, ensure that the Prepetition Stalking Horse Bidder
and the Foxtail Stalking Horse Bidder will continue to pursue its proposed agreement to purchase
the Perkins Business Assets and the Ohio Business Assets, respectively, and (vi) reasonable in
relation to each of the Prepetition Stalking Horse Bidder’s and Foxtail Stalking Horse Bidder’s
lost opportunities resulting from the time spent pursuing such transaction.

I. The legal and factual bases set forth in the Motion establish just cause for the
relief granted herein. Entry of this Order is in the best interests of the Debtors and their estates,
creditors, interest holders and all other parties in interest.

J. The form and manner of notice to be delivered pursuant to the Noticing
Procedures and the Assumption and Assignment Procedures (including the Sale Notice attached
hereto as Exhibit 2 and the Potential Assumption and Assignment Notice attached hereto as

Exhibit 3) are reasonably calculated to provide each Counterparty to the Contracts and Leases

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with proper notice of the potential assumption and assignment of such Contracts and Leases by
the Successful Bidder(s) or any of their known proposed assignees (if different from the
Successful Bidder) and the requirement that each such Counterparty assert any objection to the
proposed Cure Cost or otherwise be barred from asserting claims arising out of or related to the
Contract or Lease following the assumption and assignment thereof.

IT IS HEREBY ORDERED THAT:

1, The Motion is granted with respect to the Bid Related Relief as set forth herein.

2. Any formal or informal objections to the Motion with respect to the Bid Related
Relief or the relief requested therein with respect thereto that have not been adjourned,
withdrawn or resolved are overruled in all respects on the merits.

3. The Bidding Procedures, in substantially the form attached hereto as Exhibit 1,
are approved and fully incorporated into this Order and the Debtors are authorized, but not
directed, to act in accordance therewith. The failure to specifically include a reference to any
particular provision of the Bidding Procedures in this Order shall not diminish or impair the
effectiveness of such provision.

4. Subject to final Court approval at the Sale Hearing, the Debtors are authorized to
enter into the Stalking Horse Agreements with the Stalking Horse Bidders.

5. Bid Deadline. As further described in the Bidding Procedures, the Bid Deadline
shall be at 5:00 p.m. (prevailing Eastern Time) on September 6, 2019. The Bid Deadline may
be extended in accordance with the Bidding Procedures. The Debtors shall notify Potential
Bidders of their status as Qualified Bidders no later than 5:00 p.m. (prevailing Eastern Time)
on September 7, 2019. In addition, at least one (1) Business Day prior to the Auction, the
Debtors will provide all Qualified Bidders (including the Stalking Horse Bidders) copies of each

Qualified Bid made for the Assets and identify to them the Qualified Bid that the Debtors, in
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consultation with the Consultation Parties, believe is the highest or otherwise best offer for the
Assets.

6. Auction. In the event the Debtors receive, on or before the Bid Deadline, one or
more Qualified Bids: (i) for the Perkins Business Assets in addition to the Prepetition Stalking
Horse Agreement; (ii) for the Ohio Business Assets in addition to the Foxtail Stalking Horse
Agreement; or (iii) the MC Business Assets and the California Business Assets in addition to the
MC Stalking Horse Agreement, as applicable, an Auction shall be conducted at the office of
Akin Gump Strauss Hauer & Feld LLP, 2001 K Street N.W., Washington, D.C. 20006, at
10:00 a.m. (prevailing Eastern Time) on September 9, 2019, or such other date, time or
location as the Debtors shall notify all entities entitled to attend the Auction. The Debtors are
authorized to conduct the Auction in accordance with the Bidding Procedures.

7. In no event shall the Lenders and/or the administrative agent under the Prepetition
Bank of America Credit Agreement (or any assignees, transferees or purchasers of the secured
indebtedness held by any Lender) be permitted to credit bid for the Assets as all or part of any
competing bid for the Assets at any Auction; provided that each of the foregoing shall be
permitted to credit bid for the Assets as all or part of any competing bid for the Assets at any
Auction if at the time of such Auction (i) such credit bid complies with section 363(k) of the
Bankruptcy Code; (ii) the Prepetition Stalking Horse Agreement shall have been terminated by
the Prepetition Stalking Horse Bidder; and (iii) the Debtors shall not have entered into a new
asset purchase agreement with a third-party purchaser that includes a cash purchase price that is
equal to or higher than the Prepetition Stalking Horse Purchase Price; provided, further, that any
such credit bid is subject to the investigation and challenge rights set forth in paragraph 40 of the

Interim Order (I) Approving Postpetition Financing, (II) Authorizing Use of Cash Collateral,

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(III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
Adequate Protection, (V) Modifying Automatic Stay, and (VI) Scheduling a Final Hearing
[Docket No. 58] (the “Interim DIP Order’) and any similar rights set forth in any final order
regarding postpetition financing; provided, further, however, that, in the event a Lender and/or
the administrative agent under the Prepetition Bank of America Credit Agreement does submit a
bid (whether it be a Qualified Bid, a credit bid or otherwise), such party shall no longer be a
Consultation Party and shall automatically be deemed excluded from the definition of
Consultation Parties.

8. With respect to the Perkins Business Assets, if the Debtors do not receive any
Qualified Bids other than the Prepetition Stalking Horse Agreement upon the expiration of the
Bid Deadline, the Debtors shall: not conduct the Auction for the Perkins Business Assets and
instead shall seek approval of the sale of the Perkins Business Assets pursuant to the Prepetition
Stalking Horse Agreement at the Sale Hearing.

9. With respect to the Ohio Business Assets, if the Debtors do not receive any
Qualified Bids other than the Foxtail Stalking Horse Agreement upon the expiration of the Bid
Deadline, the Debtors shall not conduct the Auction for the Ohio Business Assets and instead
shall seek approval of the sale of the Ohio Business Assets pursuant to the Foxtail Stalking Horse
Agreement at the Sale Hearing.

10. | With respect to the MC Business Assets and the California Business Assets, if the
Debtors do not receive any Qualified Bids other than the MC Stalking Horse Agreement upon
the expiration of the Bid Deadline, the Debtors shall not conduct the Auction for the MC

Business Assets and California Business Assets and instead shall seek approval of the sale of the

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MC Business Assets and California Business Assets pursuant to the MC Stalking Horse
Agreement at the Sale Hearing.

11. The form of Sale Notice attached hereto as Exhibit 2 is hereby approved.

12. Within two (2) Business Days after entry of the Bidding Procedures Order, or as
soon as reasonably practicable thereafter, the Debtors shall serve the Sale Notice by first-class
mail upon: (i) the U.S. Trustee; (ii) counsel to the Stalking Horse Bidders; (iii) counsel to the
Committee; (iv) counsel to the agent under the Debtors’ Prepetition Bank of America Credit
Agreement; (v) counsel to the agent under the DIP Credit Agreement; (vi) the Interested Parties
identified by Houlihan and any other entity known to have expressed an interest in a transaction
with respect to the Assets; (vii) all counterparties to any contracts or leases, whether executory or
not, and their counsel, if known; (viii) all parties with Encumbrances on or against any of the
Debtors’ assets; (ix) all affected federal, state and local governmental regulatory and taxing
authorities, including the Internal Revenue Service; (x) all known holders of claims against and
equity interests in the Debtors; (xi) all parties that have filed and not withdrawn requests for
notices pursuant to Bankruptcy Rule 2002; and (xii) to the extent not already included above, all
parties in interest listed on the Debtors’ creditor matrix (collectively, the “Sale Notice Parties’).
No later than seven (7) Business Days after entry of this Order, the Debtors shall publish the Sale
Notice, with such modifications as may be appropriate for purposes of publication, once in the
National Edition of USA Today. The Sale Notice shall also be posted on the case website
maintained by the Debtors’ claims and noticing agent (the “Case Information Website’).

13. Service of the Sale Notice on the Sale Notice Parties in the manner described in
this Order constitutes good and sufficient notice of the Auction and the Sale Hearing. No other

or further notice is required.

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14. | Within one (1) Business Day after conclusion of the Auction, the Debtors shall
file a notice of the Successful Bid(s) and Back-up Bid(s), if any (the “Notice of Auction
Results”), with the Court and cause the Notice of Auction Results to be published on the Case
Information Website.

15. Sale Objections. Objections to the Sale Order, the Stalking Horse Bidders, or the
Sales to the Stalking Horse Bidders must (a) be in writing, (b) state, with specificity, the legal
and factual bases thereof, (c) be filed with the Court by no later than 4:00 p.m. (prevailing
Eastern Time) on September 9, 2019 (the “Sale Objection Deadline”), and (d) be served on (i)
proposed counsel for the Debtors: (x) Akin Gump Strauss Hauer & Feld LLP, 2001 K Street
N.W., Washington, D.C. 20006 (Attn: Scott Alberino, salberino@akingump.com) and (y)
Richards, Layton & Finger, P.A., 920 N. King Street, Wilmington, Delaware 19801 (Attn:
Daniel J. DeFranceschi; defranceschi@rlf.com); (ii) counsel to the Committee, Pachulski Stang
Ziehl & Jones LLP, 919 North Market Street, 17" Floor, Wilmington, DE 19801 (Attn: Bradford
J. Sandler; bsandler@pszjlaw.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox
35, Wilmington, Delaware, 19801 (Attn: Linda J. Casey; linda.casey@usdoj.gov); (iv) counsel to
the Prepetition Stalking Horse Bidder, Baker Botts L.L.P., 2001 Ross Avenue, Suite 900, Dallas,
TX 75201 (Attn: Omar J. Alaniz; omar.alaniz@bakerbotts.com); (v) counsel to the Foxtail
Stalking Horse Bidder, Larry Frenkel, Esq., 38 Sky Meadow Road, Suffern, NY 10901 (Attn:
Larry Frenkel; larry@larryfrenkel.com); (vi) counsel to the MC Stalking Horse Bidder, Bosley
Till LLP, 120 Newport Center Drive, Newport Beach, CA 92660 (Attn: James Till;
jtill@btnlaw.com); and (vii) counsel to the administrative agents under each of the Prepetition
Bank of America Credit Agreement and the DIP Credit Agreement, Moore & Van Allen, 100

North Tryon Street, Suite 4700, Charlotte, NC 28202 (Attn: Luis M._ Lluberas;

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luislluberas@mvalaw.com and David Eades; davideades@mvalaw.com) (the “Objection Notice
Parties”).

16.  Post-Auction Objections. Objections to the conduct of the Auction, the Successful
Bidder(s) (other than the Stalking Horse Bidder(s), or the Sale to the Successful Bidder(s) (other
than the Stalking Horse Bidder(s)) must be made on or before September 12, 2019 (prevailing
eastern time) (the “Auction Objection Deadline”).

17. | Sale Hearing. The Sale Hearing shall be held in the United States Bankruptcy
Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 3,
Wilmington, Delaware 19801, on September 1, 2019 at | | a OO Gm.
(prevailing Eastern Time); provided, however, that the Sale Hearing (or any other dates related
to the Sale, including, without limitation, the Auction) may be adjourned, from time to time, by
the Debtors, subject to the terms of the Stalking Horse Agreements and the Bidding Procedures,
without further notice to creditors or parties in interest other than by announcement of the
adjournment in open Court or on the Court’s docket.

18. Stalking Horse Protections. If triggered in accordance with the terms of the

 

applicable Stalking Horse Agreement, pursuant to Bankruptcy Code sections 105, 363, 364, 503
and 507, the Debtors are hereby authorized and directed, to promptly pay the Bid Protections to
the Prepetition Stalking Horse Bidder and Foxtail Stalking Horse Bidder, as applicable, from the
proceeds of the Sale of any or all of the Assets in accordance with the terms of the respective
Stalking Horse Agreement without further order of this Court. The obligations of the Debtors to
pay the Bid Protections (i) shall be entitled to administrative expense claim status pursuant to
sections 507 and 503(b) of the Bankruptcy Code (subject to any carve-out provided in the order

of the Court approving the DIP Credit Agreement) and (ii) shall survive the termination of the

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applicable Stalking Horse Agreement. Any and all expenses to be reimbursed pursuant to the
Prepetition SH Expense Reimbursement shall be documented, with such documentation to be
provided to counsel to the Debtors, counsel to the Committee, the U.S. Trustee, and counsel to
the administrative agents under each of the Prepetition Bank of America Credit Agreement and
the DIP Credit Agreement. The Debtors, the Committee, the U.S. Trustee and the administrative
agents under the Prepetition Bank of America Credit Agreement and DIP Credit Agreement shall
have five (5) Business Days following receipt of such expenses to dispute the payment of all or
any portion of the expenses (the “Disputed Expenses’’) and any disputing party shall notify the
submitting party in writing setting forth the specific objections to the Disputed Expenses (to be
followed by the filing with the Court, if necessary, of a motion or other pleading, with at least ten
(10) days prior written notice to the submitting party of any hearing on such motion or pleading.
The Debtors shall pay any Disputed Expenses promptly after approval (and to the extent
approved) by the Court.

19. Each Stalking Horse Bidder is deemed a Qualified Bidder for all purposes, and
each Stalking Horse Bid is deemed a Qualified Bid.

20. Assumption and Assignment Procedures. The Assumption and Assignment
Procedures are hereby approved as set forth herein.

21. As soon as reasonably practicable after entry of this Order, the Debtors shall file
with the Bankruptcy Court, and cause to be published on the Case Information Website, the
Potential Assumption and Assignment Notice and the Contracts List that specifies (i) each of the
Contracts and Leases that may be assumed and assigned in connection with the Sale, including
the name of each Counterparty and (ii) the proposed Cure Cost with respect to each Contract and

Lease. The Potential Assumption and Assignment Notice and Contracts List shall also be served

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on each Counterparty listed on the Contracts List and their counsel, if known, via first class mail.
The inclusion of a contract, lease, or other agreement the Potential Assumption and Assignment
Notice and the Contracts List shall not constitute or be deemed a determination or admission by
the Debtors and their estates, the Stalking Horse Bidder, or any other party in interest that such
contract, lease, or other agreement is, in fact, an executory contract or unexpired lease within the
meaning of Bankruptcy Code Section 365, and any and all rights with respect thereto shall be
reserved.

22. Objection Deadlines. Any Counterparty may object to the proposed assumption or
assignment of its Contract or Lease, the Debtors’ proposed Cure Costs, if any, or the ability of
the Stalking Horse Bidder to provide adequate assurance of future performance (an
“Assumption and Assignment Objection”). All Assumption and Assignment Objections (other
than to the ability of a Successful Bidder other than a Stalking Horse Bidder to provide adequate
assurance of further performance) must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules and Local Rules, (c) state, with specificity, the legal and factual bases thereof,
including, if applicable, the Cure Costs the Counterparty believes are required to cure defaults
under the relevant Contract or Lease, (d) be filed by no later than fourteen (14) days following
service of the Potential Assumption and Assignment Notice and Contracts List at 5:00 p.m.
(prevailing Eastern Time) and (e) be served on (i) proposed counsel for the Debtors: (x) Akin
Gump Strauss Hauer & Feld LLP, 2001 K Street N.W., Washington, D.C. 20006 (Attn: Scott
Alberino; salberino@akingump.com) and (y) Richards, Layton & Finger, P.A., 920 North King
Street, Wilmington, Delaware 19801 (Attn: Daniel J. DeFranceschi; defranceschi@rlf.com); (ii)
counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17"

Floor, Wilmington, DE 19801 (Attn: Bradford J. Sandler; bsandler@pszjlaw.com), (iii) counsel

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to the Prepetition Stalking Horse Bidder, Baker Botts L.L.P., 2001 Ross Avenue, Suite 900,
Dallas, TX 75201 (Attn: Omar J. Alaniz; omar.alaniz@bakerbotts.com); (iv) counsel to the
Foxtail Stalking Horse Bidder, Larry Frenkel, Esq., 38 Sky Meadow Road, Suffern, NY 10901
(Attn: Larry Frenkel; larry@larryfrenkel.com); (v) counsel to the MC Stalking Horse Bidder,
Bosley Till LLP, 120 Newport Center Drive, Newport Beach, CA 92660 (Attn: James Till;
jtill@btnlaw.com); and (vi) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, Delaware, 19801 (Attn: Linda J. Casey, Esq., linda.casey@usdoj.gov) (collectively,
the “Assumption and Assignment Objection Notice Parties”).

23. Resolution of Assumption and Assignment Objections. If a Counterparty files a
timely Assumption and Assignment Objection, such objection shall be heard at the Sale Hearing
or such later date that the Debtors and the Successful Bidder may determine (subject to the
Court’s calendar); provided, that the Debtors and the Successful Bidder may only adjourn the
hearing on such objection with the consent of the objecting Counterparty (which consent may not
be unreasonably withheld).

24. Failure to File Timely Assumption and Assignment Objection. If a Counterparty
fails to file with the Court and serve on the Assumption and Assignment Objection Notice
Parties a timely Assumption and Assignment Objection, the Counterparty shall be forever barred
from asserting any such objection with regard to the assumption or assignment of its Contract or
Lease, and notwithstanding anything to the contrary in the Contract or Lease, or any other
document, the Cure Costs set forth in the Potential Assumption and Assignment Notice or the
Supplemental Assumption and Assignment Notice (as defined below) shall be controlling and
will be the only amount necessary to cure outstanding defaults under the applicable Contract or

Lease under Section 365(b) of the Bankruptcy Code arising out of or related to the Contract or

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Lease following the assumption and assignment thereof, whether known or unknown, due or to
become due, accrued, absolute, contingent or otherwise, and the Counterparty shall be forever
barred from asserting any additional cure or other pre-assignment amounts with respect to such
Contract or Lease against the Debtors, the Successful Bidder or the property of any of them.

25. Cure Cost Payment. The Successful Bidder shall pay the Cure Costs to the
applicable Counterparty on the effective date of the assignment of the applicable Lease.

26. Unless otherwise provided in the Successful Bidder’s Asset Purchase Agreement,
at any time until two (2) days prior to the Closing Date, the Successful Bidder may elect to
amend the Execution Date Contracts Schedule attached to the Asset Purchase Agreement. Any
Contract or Lease that remains on the Execution Date Contracts Schedule as of the Closing Date,
and that is not a Disputed Contract (as defined below), shall be assumed by the Debtors and
assigned to the Successful Bidder or its designee, as applicable, as part of the Sale. The
assumption and assignment of Disputed Contracts shall be treated in accordance with paragraph
30 of this Order. Subject to paragraph 30 of this Order, all Contracts and Leases that are not on
the Execution Date Contracts Schedule shall be deemed “Rejected Contracts” under the Asset
Purchase Agreement. Within one (1) Business Day of the Closing Date, the Debtors shall file
with the Bankruptcy Court a notice including (i) the Closing Date and (ii) a list of Contracts and
Leases assumed and assigned as part of the Sale.

27. Solely with respect to the Perkins Business Assets, (A) the Debtors shall not, until
the date that is thirty (30) days after the Closing Date, assume, reject or assign to any third party
any Lease primarily relating to the Perkins Business that is not included on the Execution Date
Contracts Schedule (each, an “Excluded Lease”) and (B) Debtors shall, upon request of the

Successful Bidder, assume and assign to the Successful Bidder or any designee of the Successful

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Bidder any Excluded Lease (for no additional consideration), and upon any assumption and
assignment of such Excluded Lease, such Lease shall become an Assigned Contract and
Assumed Liability; provided that Buyer shall be responsible for and shall promptly ay all Cure
Costs associated therewith.

28. In the event that either any Contract or Lease is added to the Contracts List or
previously-stated Cure Costs are modified or a Successful Bidder desires to assume and assign
an Excluded Lease, in accordance with the Asset Purchase Agreement or the Assumption and
Assignment Procedures set forth in this Order, the Debtors shall file a supplemental assumption
and assignment notice (each, a “Supplemental Assumption and Assignment Notice”) with this
Court and serve it by overnight mail and, if known, e-mail, on the applicable Counterparty and
its counsel, if known. Each Supplemental Assumption and Assignment Notice will include the
same information with respect to the applicable Contract or Lease as is required to be included in
the Potential Assumption and Assignment Notice.

29. Any Counterparty listed on a Supplemental Assumption and Assignment Notice
whose Contract or Lease is proposed to be assumed and assigned may object to the proposed
assumption or assignment of its Contract or Lease, the Debtors’ proposed Cure Costs, if any, or
the ability of the Successful Bidder to provide adequate assurance of future performance (a
“Supplemental Assumption and Assignment Objection”). All Supplemental Assumption and
Assignment Objections must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules and Local Rules, (c) state, with specificity, the legal and factual bases thereof,
including, if applicable, the Cure Costs the Counterparty believes is required to cure defaults
under the relevant Contract or Lease, (d) be filed by no later than fourteen (14) calendar days

from the date of service of such Supplemental Assumption and Assignment Notice and (e)

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be served on the Assumption and Assignment Objection Notice Parties. Each Supplemental
Assumption and Assignment Objection, if any, may be resolved and, if applicable, adjourned in
the same manner as an Assumption and Assignment Objection.

30. | Upon objection by the non-debtor Contract counterparty to the Cure Costs
asserted by the Debtors with regard to any Contract (such contract, a “Disputed Contract”), the
Debtors shall either settle the objection of such party or shall litigate such objection under such
procedures as the Bankruptcy Court shall approve and proscribe. In the event that a dispute
regarding the Cure Costs with respect to a Contract has not been resolved as of the Closing Date,
the Successful Bidder shall nonetheless remain obligated to consummate the Sale. Upon entry of
an Order determining any Cure Costs regarding any Disputed Contract after the Closing (the
“Disputed Contract Order”), the Successful Bidder shall have the option to designate the
Disputed Contract as a Rejected Contract, in which case, for the avoidance of doubt, Successful
Bidder shall not assume the Disputed Contract and shall not be responsible for the associated
Cure Costs with such Disputed Contract; provided, however, that if Successful Bidder does not
designate such Disputed Contract as a Rejected Contract within fifteen (15) days after the date of
the Disputed Contract Order, such Disputed Contract shall automatically be deemed to be an
Assigned Contract for all purposes under the Successful Bidder’s Asset Purchase Agreement and
the Debtors shall file a notice with the Court of such designation as soon as reasonably
practicable. Any Cure Costs associated with any Assigned Contract or any Disputed Contract
which becomes an Assigned Contract shall be paid in accordance with the terms of the
Successful Bidder’s Asset Purchase Agreement.

31. If, following the Auction, a Stalking Horse Bidder is not the Successful Bidder,

then the Debtors shall, as soon as practicable following the conclusion of the Auction, serve the

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Notice of Auction Results via email on each Counterparty that received a Potential Assumption
and Assignment Notice and any Supplemental Assumption and Assignment Notice and post the
Notice of Auction Results on the Case Information Website. Notwithstanding paragraph 16
above, objections of any Counterparty related solely to the identity of and adequate assurance of
future performance provided by the Successful Bidder (other than a Stalking Horse Bidder) may
be made at the Sale Hearing.

32. | This Order shall be binding upon all creditors of, and equity holders in, the
Debtors and any and all other parties in interest, including, without limitation, the Debtors and
their affiliates and subsidiaries, and any trustee or successor trustee appointed in the Debtors’
Chapter 11 Cases or upon a conversion to chapter 7 under the Bankruptcy Code.

33. All obligations of the Debtors to each Staking Horse Bidder pursuant to the
Prepetition Stalking Horse Agreements and any related agreements executed in connection
therewith (including any amounts payable by the Debtors to the Stalking Horse Bidders
thereunder) shall (a) constitute an allowed administrative expense claim under Bankruptcy Code
Sections 503(b)(1)(A) and 507(a)(2) (subject to any carve-out provided in the order of the Court
approving the DIP Credit Agreement); (b) not be altered, amended, impaired, discharged or
affected by any chapter 11 plan proposed or confirmed in these Chapter 11 Cases without the
prior written consent of the Stalking Horse Bidders, (c) not be subject to rejection or avoidance
(whether through any avoidance, fraudulent transfer, preference or recovery, Claim, action or
proceeding arising under chapter 5 of the Bankruptcy Code, or under any similar state or federal
law or any other cause of action by the Debtors, any chapter 7 or chapter 11 trustee of Debtors’
bankruptcy estates or any other person or entity), (d) be paid by the Debtors from the proceeds of

the Sale of any or all of the Assets without further order of this Court; and (e) not be subject to

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any bar date in these Chapter 11 Cases or any requirement to file any request for allowance of
administrative claim or proof of claim.

34. All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

35. To the extent any provisions of this Order are inconsistent with the Motion or the
Supplement, the terms of this Order shall control. To the extent any provisions of this Order are
inconsistent with the Bidding Procedures, the terms of this Order shall control.

36. | Notwithstanding any Bankruptcy Rule (including, but not limited to, Bankruptcy
Rule 6004(h), 6006(d), 7062 or 9014) or Local Rule that might otherwise delay the effectiveness of
this Order, the terms and conditions of this Order shall, to the extent applicable, be effective and
enforceable immediately upon entry hereof.

37. The Debtors are hereby authorized to take such actions and to execute such
documents as may be necessary to implement the relief granted by this Order.

38. This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation and/or interpretation of this Order.

Dated: August Z 3 , 2019
Wilmington, Delaware

    

THE HONORABLE KEVINGROSS
UNITED STATES BANKRUPTCY JUDGE

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